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                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF PENNSYLVANIA
                                       READING DIVISION

IN RE:        Jon Markley and                :        CASE NO.: 16-18228
              Carol Markley

      Debtor(s)                              :        CHAPTER 13

                                             CHAPTER 13 PLAN



   Original
   Fourth Amended


Date: December 5, 2018

                             THE DEBTOR HAS FILED FOR RELIEF UNDER
                              CHAPTER 13 OF THE BANKRUPTCY CODE

                                 YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan,
which contains the date of the confirmation hearing on the Plan proposed by the Debtor. This
document is the actual Plan proposed by the Debtor to adjust debts. You should read these papers
carefully and discuss them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY
PROVISION OF THIS PLAN MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy
Rule 3015 and Local Rule 3015-5. This Plan may be confirmed and become binding, unless a
written objection is filed.

                IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
               MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                            NOTICE OF MEETING OF CREDITORS.




Part 1: Bankruptcy Rule 3015.1 Disclosures


   Plan contains non-standard or additional provisions – see Part 9
   Plan limits the amount of secured claim(s) based on value of collateral
   Plan avoids a security interest or lien
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Part 2: Payment and Length of Plan


      § 2(a)(1) Initial Plan:
             Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $
             ______________
             Debtor shall pay the Trustee $ _________ per month for ____ months; and
             Debtor shall pay the Trustee $ _________ per month for ____ months.
  Other changes in the scheduled plan payment are set forth in § 2(d)

      § 2(a)(2) Amended Plan:
      Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $36,024.11

       The Plan payments by Debtor shall consists of the total amount previously paid ($9,900)added
to the new monthly Plan payments in the amount of $706.00 beginning November, 2018 for 37
months.
  Other changes in the scheduled plan payments are set forth in § 2(d)

        § 2(b) Debtor shall make plan payments to the Trustee from the following sources in addition
to future wages (Describe source, amount and date when funds are available, if known):

      § 2(c) Use of real property to satisfy plan obligations:
               Sale of real property
             See § 7(c) below for detailed description

               Loan modification with respect to mortgage encumbering property:
             See § 7(d) below for detailed description

      § 2(d) Other information that may be important relating to the payment and length of Plan:




Part 3: Priority Claims (Including Administration Expenses & Debtor’s Counsel Fees)


      § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full
unless the creditor agrees otherwise:


Creditor                         Type of Priority                Estimated Amount to be Paid
US Dept. of the Treasury         Income taxes                    8,671.95

PA Dept. of Revenue              Income taxes                    2,057.30
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       § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid
less than full amount.

           None. If “None” is checked, the rest of § 3(b) need not be completed.

         The allowed priority claims listed below are based on a domestic support obligation that has
been assigned to or is owed to a governmental unit and will be paid less than the full amount of the
claim. This plan provision requires that payments in § 2(a) be for a term of 60 months; see 11 U.S.C.
§ 1322(a)(4).

Name of Creditor                                  Amount of Claim to be Paid




Part 4: Secured Claims


       § 4(a) Curing Default and Maintaining Payments
           None. If “None” is checked, the rest of § 4(a) need not be completed.

       The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition
arrearages; and, Debtor shall pay directly to creditor monthly obligations falling due after the
bankruptcy filing.

Creditor        Description of    Regular         Estimated      Interest Rate   Amount to be
                Secured           Monthly         Arrearage      on Arrearage,   Paid to
                Property and      Payment to be                  if applicable   Creditor by
                Address, if       paid directly                                  the Trustee
                real property     to
                                  creditor by
                                  Debtor
Caliber    1435                   725.90          16,738.15      N/A             16,738.15
Home Loans Washington
           Street,
           Easton, PA


      § 4(b) Allowed Secured Claims to be Paid in Full: Based on Proof of Claim or Pre-
Confirmation Determination of the Amount, Extent or Validity of the Claim
         None. If “None” is checked, the rest of § 4(b) need not be completed.
        (1) Allowed secured claims listed below shall be paid in full and their liens retained
until completion of payments under the plan.
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       (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed
to determine the amount, extent or validity of the allowed secured claim and the court will make its
determination prior to the confirmation hearing.

      (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a
general unsecured claim under Part 5 of the Plan or (B) as a priority claim under Part 3, as
determined by the court.

        (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11
U.S.C. § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant
included a different interest rate or amount for “present value” interest in its proof of claim, the court
will determine the present value interest rate and amount at the confirmation hearing.

      (5) Upon completion of the Plan, payments made under this section satisfy the allowed
secured claim and release the corresponding lien.

Name of          Description of   Allowed         Present          Dollar           Total
Creditor         Secured          Secured         Value            Amount           Amount to
                 Property         Claim           Interest         of Present       be paid
                 and Address,                     Rate             Value Interest
                 if real
                 property
PA Dept of       Residence        1,872.54        N/A              N/A              1,872.54
Rev

City of          Residence        2,897.62        N/A              N/A              2,897.62
Easton
c/o Portnoff
Law Offices

       § 4(c) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506
           None. If “None” is checked, the rest of § 4(c) need not be completed.

       The claims below were either (1) incurred within 910 days before the petition date and secured
by a purchase money security interest in a motor vehicle acquired for the personal use of the
debtor(s), or (2) incurred within 1 year of the petition date and secured by a purchase money security
interest in any other thing of value.

      (1) The allowed secured claims listed below shall be paid in full and their liens retained until
completion of payments under the plan.

        (2) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11
U.S.C. § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant
included a different interest rate or amount for “present value” interest in its proof of claim, the court
will determine the present value interest rate and amount at the confirmation hearing.
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Name of Creditor      Collateral             Amount of Claim         Present Value          Estimated total
                                                                     Interest               payments
                                                                     %                      $
                                                                     %                      $

       § 4(d) Surrender
           None. If “None” is checked, the rest of § 4(d) need not be completed.

       (1) Debtor elects to surrender the secured property listed below that secures the creditor’s claim.

       (2) The automatic stay under 11 U.S.C. § 362(a) with respect to the secured property terminates upon
confirmation of the Plan.

       (3) The Trustee shall make no payments to the creditors listed below on their secured claims.

Creditor                                                 Secured Property




Part 5: Unsecured Claims


       § 5(a) Specifically Classified Allowed Unsecured Non-Priority Claims
           None. If “None” is checked, the rest of § 5(a) need not be completed.

Creditor              Basis for Separate     Treatment               Amount of Claim        Amount to be Paid
                      Classification




       § 5(b) All Other Timely Filed, Allowed General Unsecured Claims

       (1) Liquidation Test (check one box)

                  All Debtor(s) property is claimed as exempt.

                  Debtor(s) has non-exempt property valued at $ for purposes of § 1325(a)(4)

       (2) Funding: § 5(b) claims to be paid as follows (check one box):


                  Pro rata
                  100%
                  Other (Describe)

Part 6: Executory Contracts & Unexpired Leases
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           None. If “None” is checked, the rest of § 6 need not be completed.

Creditor                            Nature of Contract or Lease          Treatment by Debtor Pursuant
                                                                         §365(b)




Part 7: Other Provisions


       § 7(a) General Principles Applicable to The Plan

       (1) Vesting of Property of the Estate (check one box)
                 Upon confirmation
                 Upon discharge

       (2) Unless otherwise ordered by the court, the amount of a creditor’s claim listed in its proof of
claim controls over any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

       (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments
under § 1326(a)(1)(B),(C) shall be disbursed to the creditors by the Debtor directly. All other
disbursements to creditors shall be made by the Trustee.

       (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which
Debtor is the plaintiff, before the completion of plan payments, any such recovery in excess of any
applicable exemption will be paid to the Trustee as a special Plan payment to the extent necessary to
pay priority and general unsecured creditors, or as agreed by the Debtor and the Trustee and
approved by the court.

      § 7(b) Affirmative Duties on Holders of Claims secured by a Security Interest in Debtor’s
Principal Residence

      (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to
such arrearage.

      (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition
mortgage obligations as provided for by the terms of the underlying mortgage note.

        (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for
the sole purpose of precluding the imposition of late payment charges or other default-related fees
and services based on the pre-petition default or default(s). Late charges may be assessed on post-
petition payments as provided by the terms of the mortgage and note.

       (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements
to the Debtor pre-petition, and the Debtor provides for payments of that claim directly to the creditor in
the Plan, the holder of the claims shall resume sending customary monthly statements.
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       (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor
with coupon books for payments prior to the filing of the petition, upon request, the creditor shall
forward post-petition coupon book(s) to the Debtor after this case has been filed.

     (6) Debtor waives any violation of stay claim arising from the sending of statements and
coupon books as set forth above.

         § 7(c) Sale of Real Property
            None. If “None” is checked, the rest of § 7(c) need not be completed.

       (1) Closing for the sale of _______________________(the “Real Property”) shall be completed
within months of the commencement of this bankruptcy case (the “Sale Deadline”). Unless otherwise
agreed by the parties or provided by the Court, each allowed claim secured by the Real Property will
be paid in full under §4(b)(1) of the Plan at the closing (“Closing Date”).

         (2) The Real Property will be marketed for sale in the following manner and on the following
terms:

        (3) Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at
settlement all customary closing expenses and all liens and encumbrances, including all § 4(b)
claims, as may be necessary to convey good and marketable title to the purchaser. However, nothing
in this Plan shall preclude the Debtor from seeking court approval of the sale of the property free and
clear of liens and encumbrances pursuant to 11 U.S.C. §363(f), either prior to or after confirmation of
the Plan, if, in the Debtor’s judgment, such approval is necessary or in order to convey insurable title
or is otherwise reasonably necessary under the circumstances to implement this Plan.

       (4) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours
of the Closing Date.

       (5) In the event that a sale of the Real Property has not been consummated by the expiration
of the Sale Deadline:

         § 7(d) Loan Modification
           None. If “None” is checked, the rest of § 7(d) need not be completed.

       (1) Debtor shall pursue a loan modification directly with or its successor in interest or its current
servicer (“Mortgage Lender”), in an effort to bring the loan current and resolve the secured arrearage
claim.

       (2) During the modification application process, Debtor shall make adequate protection
payments directly to Mortgage Lender in the amount of $________ per month, which represents
(describe basis of adequate protection payment). Debtor shall remit the adequate protection
payments directly to the Mortgage Lender.

         (3) If the modification is not approved by (date), Debtor shall either (A) file an amended Plan to
otherwise provide for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seek
relief from the automatic stay with regard to the collateral and Debtor will not oppose it.
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Part 8: Order of Distribution


The order of distribution of Plan payments will be as follows:

       Level 1: Trustee Commissions*
       Level 2: Domestic Support Obligations
       Level 3: Adequate Protection Payments
       Level 4: Debtor’s attorney’s fees
       Level 5: Priority claims, pro rata
       Level 6: Secured claims, pro rata
       Level 7: Specially classified unsecured claims
       Level 8: General unsecured claims
       Level 9: Untimely filed, allowed general unsecured claims

*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States
Trusteenot to exceed ten (10) percent.

Part 9: Non Standard or Additional Plan Provisions


   None. If “None” is checked, the rest of § 9 need not be completed.

Part 10: Signatures

        Under Bankruptcy Rule 3015(c), nonstandard or additional plan provisions are required to be
set forth in Part 9 of the Plan. Such Plan provisions will be effective only if the applicable box in Part 1
of this Plan is checked. Any nonstandard or additional provisions set out other than in Part 9 of the
Plan are VOID. By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this
Plan contains no nonstandard or additional provisions other than those in Part 9 of the Plan.


Date: December 5, 2018
                                                                 /s/ Robert Glazer, Esquire
                                                                 Attorney for Debtor(s)
